          Case 1:24-cr-00259-JMC Document 1 Filed 05/29/24 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
            v.                                   :    CASE NO. Pending
                                                 :
 JOHN DINE,                                      :
                                                 :    VIOLATIONS:
                           Defendant.            :    18 U.S.C. § 1752(a)(1)
                                                 :    (Entering and Remaining in a Restricted
                                                 :    Building or Grounds)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building
                                                 :    or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, JOHN DINE did knowingly enter

and remain in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise

restricted area within the United States Capitol and its grounds, where the Vice President was and

would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
            Case 1:24-cr-00259-JMC Document 1 Filed 05/29/24 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, JOHN DINE did knowingly, and

with intent to impede and disrupt the orderly conduct of Government business and official

functions, engage in disorderly and disruptive conduct in and within such proximity to, a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President was and would be temporarily

visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of

Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))




                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, JOHN DINE willfully and

knowingly engaged in disorderly and disruptive conduct within the United States Capitol Grounds

and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly

conduct of a session of Congress and either House of Congress, and the orderly conduct in that

building of a hearing before or any deliberation of, a committee of Congress or either House of

Congress.

       (Disorderly Conduct in a Capitol Building or Grounds, in violation of Title 40, United
       States Code, Section 5104(e)(2)(D))




                                                 2
         Case 1:24-cr-00259-JMC Document 1 Filed 05/29/24 Page 3 of 3




                                      COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, JOHN DINE willfully and

knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  D.C. Bar No. 481052




                                            By:   /s/ Patrick Holvey
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                                              3
